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Attorney for Plaintiff
TROY COVEY

                IN THE UNITED STATES DISTRICT COURT
              FOR THE CENTRAL DISTRICT OF CALIFORNIA

TROY COVEY,                           Case No. 2:22-cv-3944

      Plaintiff,
                                      COMPLAINT
v.
                                      DEMAND FOR JURY TRIAL
SEVENSKIN BEAUTY LLC;
OLIVIA GRIFFIAN, individually;
and DOES 1-10, inclusive,

      Defendants.


      Plaintiff TROY COVEY, by and through his undersigned counsel, brings

this Complaint against Defendants, SEVENSKIN BEAUTY LLC; OLIVIA

GRIFFIAN, individually; and DOES 1 through 10, inclusive, and alleges as

follows:

                         NATURE OF THE ACTION

      1.      This is a civil action seeking damages and injunctive relief for

copyright infringement under the Copyright Act of the United States, 17 U.S.C. §

101 et seq.
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                                     PARTIES

      2.     Troy Covey (“Covey”) is an individual and professional photographer

residing in New York.

      3.     Upon information and belief, Seven Skin Beauty Collect LLC

(“SevenSkin”) is a California limited liability company duly organized and

existing under the laws of California with a place of business at 1121 Queen Anne

Place, Los Angeles, California 90019.

      4.     Upon information and belief, Olivia Griffian (“Griffian”) is an

individual residing in the State of California and is or was at all relevant times the

principal officer, owner, or member of the Defendant business entity named in this

Complaint (Seven Skin Beauty Collect LLC).

      5.     The true names and capacities of Defendants Does 1 through 10,

inclusive, are presently unknown to Plaintiff, and for that reason, sues them by

such fictitious names. Plaintiff is informed and believes that each of the

fictitiously-named defendants is responsible in some capacity for the occurrences

herein alleged, and on that basis, believes damages as herein alleged were

proximately caused by the conduct of Does 1 through 10, inclusive. Plaintiff will

seek to amend this complaint when the true names and capacities of Does 1

through 10, inclusive, are ascertained.




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      6.     For the purposes of this Complaint, unless otherwise indicated,

“Defendants” include all agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogates, representatives, and

insurers of Defendants named in this caption.

                           JURISDICTION AND VENUE

      7.     This Court has original subject matter jurisdiction over copyright

claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

      8.     This Court has personal jurisdiction over Defendants because

Defendants have a physical presence in the State of California and/or Defendants

transact business in the State of California.

      9.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)-(d)

and/or § 1400(a) in that this is the judicial district in which a substantial part of the

acts and omissions giving rise to the claims occurred, or a substantial part of

property that is the subject of the action is situated in this judicial district, and/or

this civil action arises under the Copyright Act of the United States and Defendants

or their agents reside in or can be found in this judicial district.

                        FACTUAL ALLEGATIONS

      10.    Troy Covey is a successful commercial photographer specializing in

beauty photography.




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      11.     Covey licenses his work for a fee. Covey’s client list includes Lune +

Aster, Briogeo, Clinque, Target, Peloton, Versed Skincare, e.l.f., and SHAPE

Magazine.

      12.     Covey’s portfolio of work is available for viewing by the general

public at https://troycovey.com/ (“Covey Website).

      13.     Covey’ livelihood depends on receiving compensation for the

photographs he produces, and the copyright protection afforded to Covey’s work

deters would-be infringers from copying and profiting from his work without

permission.

      14.     Covey is the sole author and exclusive rights holder to a close-up

beauty shot of a model using skincare products on her face (“Skincare

Photograph”).

      15.     Attached as Exhibit A is a true and correct copy of the Skincare

Photograph.

      16.     Covey registered the Skincare Photograph with the United States

Copyright Office under Registration Number VAu 1-349-196 with an Effective

Date of Registration of March 18, 2019.

      17.     Upon information and belief, SevenSkin is a specialty skin care

destination that merges technology, beauty, and science for non-invasive skin care

solutions and emerging treatment.



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      18.   Upon information and belief, SevenSkin offers its clients anti-aging

beauty products, including LED light therapy masks, and educates its clients on

skincare regimens, treatments, and product ingredients.

      19.   Upon information and belief, SevenSkin is the owner and operator of

the website https://sevenskinbeauty.com/ (“SevenSkin Website”).

      20.   SevenSkin         maintains       a      Facebook        page       at

https://www.facebook.com/sevenskinbeauty/photos/?ref=page_internal

(“SevenSkin Facebook Page”).

      21.   The SevenSkin Website can be accessed from the SevenSkin

Facebook Page.

      22.   Attached as Exhibit B is a true and correct screenshot of the

SevenSkin Facebook Page showing the access location of the SevenSkin Website

https://www.facebook.com/sevenskinbeauty/?ref=page_internal.

      23.   Upon information and belief, SevenSkin generates content on the

SevenSkin Website and the SevenSkin Facebook Page to attract user traffic,

promote its products, and increase its customer base and revenue for the company.

      24.   At all relevant times, the SevenSkin Website and the SevenSkin

Facebook Page were readily accessible to the general public throughout California,

the United States, and the world.




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        25.   Upon information and belief, Griffian is or was at all relevant times

the principal officer, owner, or member of SevenSkin, and had a direct financial

interest in the content and activities of the SevenSkin Website and the SevenSkin

Facebook Page (including the activities alleged in this Complaint).

        26.   Upon information and belief, the Defendant SevenSkin and Defendant

Griffian were at all relevant times acting as agents and alter egos for each other and

are thus each jointly, severally, and personally liable for the debts and liabilities of

each other.

        27.   At all relevant times, Defendants, including Defendant Griffian, had

the ability to supervise and control all content on the SevenSkin Website and

SevenSkin Facebook Page.

        28.   On or about December 7, 2021, Covey discovered his Skincare

Photograph being used by SevenSkin on the SevenSkin Facebook Page in a post

describing moisturizing as an essential step in skincare routines.

        29.   Attached hereto as Exhibit C are true and correct screenshots of the

Skincare Photograph as used on the SevenSkin Facebook Page on December 7,

2021.

        30.   Covey did not consent to or authorize Defendants to use or display

the Skincare Photograph on the SevenSkin Facebook Page.




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     31.     In no event did Covey offer or provide Defendants with a license to

use or display the Skincare Photograph in any manner.

      32.    Covey is informed and believes Defendants (including their

employees, agents, contractors or others over whom they have responsibility and

control) created an unauthorized copy of the Skincare Photograph and caused it to

be uploaded to and displayed on the SevenSkin Facebook Page.

      33.    Covey is informed and believes Defendants (including their

employees, agents, contractors or others over whom they have responsibility and

control) created an unauthorized copy of the Skincare Photograph and used,

displayed, communicated, and otherwise held out to the public Covey’s original

and unique Skincare Photograph in order to acquire a direct financial benefit,

through revenue from the sales of SevenSkin’s products, from the use of the

Skincare Photograph.

      34.    Covey is informed and believes Defendants knew they did not have

permission to use the Skincare Photograph on the SevenSkin Facebook Page and

willfully infringed his rights in the Skincare Photograph.

      35.    Covey, through counsel, sent cease and desist correspondence to

Defendants and communicated with Griffian several times by email in January

2022 in an attempt to resolve this matter.




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                         FIRST CAUSE OF ACTION
                        COPYRIGHT INFRINGEMENT
                            17 U.S.C. § 101 et seq
      36.     Covey incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      37.     Covey owns a valid copyright in the Skincare Photograph.

      38.     Covey registered the Skincare Photograph with the Register of

Copyrights pursuant to 17 U.S.C. § 411(a).

      39.     Defendants (including the employees, agents, contractors or others

over whom they have responsibility and control) copied and displayed Covey’s

unique and original Skincare Photograph without Covey’s consent or authorization

in violation of 17 U.S.C. § 501.

      40.     Covey is informed and believes and thereon alleges that Defendants

willfully infringed upon his rights in his copyrighted Skincare Photograph in

violation of Title 17 of the U.S. Code because, inter alia, Defendants knew, or

should have known, they did not have a legitimate license to use the Skincare

Photograph.

      41.     As a result of Defendants’ violations of Title 17 of the U.S. Code,

Covey is entitled to any actual damages and profits attributable to the infringement,

pursuant to 17 U.S.C. §504(b), or statutory damages in an amount up to

$150,000.00 for each infringement, pursuant to 17 U.S.C. § 504(c).




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      42.      As a result of the Defendants’ violations of Title 17 of the U.S. Code,

the court in its discretion may allow the recovery of full costs from Defendants as

well as reasonable attorney’s fees pursuant to 17 U.S.C § 505.

      43.      Covey is also entitled to injunctive relief to prevent or restrain

infringement of his copyrights pursuant to 17 U.S.C. § 502.

                              PRAYER FOR RELIEF

WHEREFORE, Covey prays for judgment against Defendants, as follows:

   • For a finding that Defendants infringed Covey’s copyright interest in the

      Skincare Photograph by copying and displaying it without a license or

      consent;

   • For an award of actual damages and disgorgement of all of profits

      attributable to the copyright infringement, as provided by 17 U.S.C. §

      504(b), in an amount to be proven or, in the alternative, and at Covey’s

      election, an award for statutory damages for copyright infringement,

      including willful infringement, in accordance with 17 U.S.C. § 504(c);

   • For costs of litigation and reasonable attorney’s fees pursuant to 17 U.S.C.

      § 505;

   • For an injunction preventing Defendants from further infringement of all of

      Covey’s copyrighted works pursuant to 17 U.S.C. § 502;

   • For pre judgment and post judgment interest as permitted by law; and


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    • For any other relief the Court deems just and proper.

 Dated: June 9, 2022                         Respectfully submitted,

                                             s/ Mathew K. Higbee
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                          DEMAND FOR JURY TRIAL

       Plaintiff, Troy Covey, hereby demands a trial by jury in the above matter.

 Dated: June 9, 2022                           Respectfully submitted,

                                               s/ Mathew K. Higbee
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